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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                       1/12/2021


ROBERT GAUVIN,

                                            Plaintiff,                      20-CV-5477 (SN)

                          -against-                                              ORDER

FANTASIA ACCESSORIES, LTD, et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

        Pursuant to the Court’s Civil Case Management Plan and Scheduling Order, the parties

were instructed to file a joint letter by January 8, 2021. See ECF No. 24. As of today, no letter

has been filed. Accordingly, the parties shall file a joint letter no later than January 19, 2021,

regarding whether the parties wish to appear before me for a settlement conference or if the

parties would prefer to appear before another magistrate judge or be referred for mediation.

SO ORDERED.



DATED:           January 12, 2021
                 New York, New York
